                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

____________________________________
                                           :
IDIL ISSAK,                                :
                                           :     Civil Action No. _________
                        Plaintiff,         :
                                           :
         v.                                :     COMPLAINT
                                           :
UNIVERSITY OF                              :
TENNESSEE-KNOXVILLE;                       :
COLLEGE OF ARTS AND SCIENCES; :
PATRICK GRZANKA OF THE                     :
COLLEGE OF ARTS AND SCIENCES, :
in his Individual and Official Capacities; :
MICHAEL BLUM OF THE COLLEGE                :
OF ARTS AND SCIENCES, in his               :
Individual and Official Capacities;        :
BARBARA HEATH OF THE                       :
DEPARTMENT OF                              :
ANTHROPOLOGICAL                            :
ARCHAEOLOGY,                               :
in her Individual and Official Capacities; :
INSTITUTIONAL REVIEW BOARD;                :
INSTITUTIONAL REVIEW BOARD                 :
CHAIR LORA BEEBE,                          :
in her Individual and Official Capacities; :
INTERIM INSTITUTIONAL                      :
OFFICIAL OF INSTITUTIONAL                  :
REVIEW BOARD TAMI WYATT, in her :
Individual and Official Capacities;        :
ALTERNATIVE MEMBER OF                      :
INSTITUTIONAL REVIEW                       :
BOARD AND DIRECTOR OF HUMAN :
RESEARCH PROTECTION PROGRAM :
ROBERT WITHROW, in his Individual and :
Official Capacities                        :
                                           :
                        Defendants.        :
____________________________________:




  Case 3:25-cv-00238       Document 1      Filed 06/02/25   Page 1 of 32      PageID #: 1
        Plaintiff Idil Issak, a PhD student at the University of Tennessee-Knoxville, seeks declaratory

relief, injunctive relief, and nominal damages to halt and redress Defendants’ violations of her First

Amendment right to freedom of speech.

                                         INTRODUCTION

        1.      This case is an as-applied challenge against the University of Tennessee-Knoxville

(“University”), its Institutional Review Board (“IRB”), and agents of both for their abridgement of

Plaintiff Idil Issak’s First Amendment right to freedom of speech.

        2.      The University requires social science PhD students who seek to engage in research

that involves communications with third parties to obtain permission from an IRB before conducting

the oral and/or written interviews that form the basis of their dissertation, if the dissertation seeks to

contribute to generalizable knowledge.

        3.      Additionally, the IRB requires communicative research conducted internationally to

be “culturally appropriate” in the foreign country.

        4.      Defendants require such IRB approval even though the University’s Doctoral

Committee previously approved Plaintiff’s dissertation research, concluding the proposed

communicative research satisfied all academic requirements for the PhD program.

        5.      Thus, the IRB mandate establishes an unconstitutional licensing scheme that operates

as a prior restraint on speech.

        6.      The IRB mandate also constitutes an unconstitutional content-based, speaker-based,

and viewpoint-based restriction on speech and chills Plaintiff’s speech.

        7.      Additionally, the University lacks clear standards for determining whether PhD

students engaged in communicative research must obtain IRB approval or for guiding the IRB review

process, with the IRB possessing unconstrained discretion to approve or reject an applicant’s

proposed communicative research.

                                                      2

  Case 3:25-cv-00238          Document 1         Filed 06/02/25      Page 2 of 32        PageID #: 2
        8.      IRB members also lack the necessary knowledge and expertise to evaluate proposed

interview questions or surveys or to judge the importance of the research.

        9.      In short, the IRB mandate in this case violates almost the full range of free speech

doctrines, making it a First Amendment nightmare.

        10.     Accordingly, the Official Capacity Defendants should be enjoined from requiring Ms.

Issak to obtain IRB approval for her dissertation,1 and the Court should award Ms. Issak $1 in nominal

damages on her Individual Capacity claims.

                                  JURISDICTION AND VENUE

        11.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this action arises under 42

U.S.C. § 1983 and the First Amendment to the United States Constitution.2

        12.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2) as

Defendant University of Tennessee-Knoxville maintains its principal place of business in this district,

and a substantial part of the events giving rise to the claims occurred in this district.

                                               PARTIES

        13.     Plaintiff Idil Issak is a natural person and a resident of Knoxville, Tennessee who is

temporarily living in New York City.

        14.     Defendant, the University of Tennessee-Knoxville (“University”), is a land grant

university established and authorized under the laws of the State of Tennessee, which provides

undergraduate and graduate educational programs at various campuses located in the State of

Tennessee, including, but not limited to, the campus located in Knoxville, Tennessee.



1
  Ms. Issak’s challenge is limited to the application of the IRB mandate to students in the social
sciences, where the research involves solely communicative research. Plaintiff does not challenge the
IRB mandate to the extent it applies to federally funded research or medical research.
2
  The First Amendment is made applicable to the States through the Fourteenth Amendment. See 44
Liquormart, Inc. v. Rhode Island, 517 U.S. 484, 516 (1996).
                                                     3

    Case 3:25-cv-00238         Document 1        Filed 06/02/25       Page 3 of 32          PageID #: 3
        15.     Defendant, the College of Arts and Sciences, houses Plaintiff’s Anthropology PhD

program.

        16.     Defendant Patrick Grzanka, Divisional Dean for Social Sciences in the College of Arts

and Sciences, is sued in both his individual and official capacities.

        17.     Defendant Michael Blum, College of Arts and Sciences Associate Dean for Research

and Creative Activity, is sued in both his individual and official capacities.

        18.     Defendant Barbara Heath, Department Head of Anthropological Archaeology, is sued

in both her individual and official capacities. 3

        19.     Defendant Institutional Review Board (“IRB”) is an administrative body within the

University’s Human Research Protection Program.

        20.     Defendant Dr. Lora Beebe, Chair of the IRB, is sued in both her individual and official

capacities.

        21.     Defendant Robert Withrow, alternate member of the IRB and Director of Human

Research Protection Program, is sued in both his individual and official capacities.

        22.     Defendant Tami Wyatt, Interim Institutional Official of the IRB, is sued in both her

individual and official capacities.4

        23.     University Defendants and IRB Defendants all reside and/or work in Knoxville,

Tennessee.

                                       STATEMENT OF FACTS

A.      Plaintiff Idil Issak’s Background



3
  Defendants University, College of Arts and Sciences, and Divisional Dean Grzanka, Associate Dean
Blum, and Department Head Heath in their official capacities are referred to jointly as “University
Defendants.”
4
  Defendants IRB, Chair Beebe, Alternate Member and Director Withrow, and Interim Institutional
Official Wyatt in their official capacities are referred to jointly as “IRB Defendants.”
                                                      4

    Case 3:25-cv-00238         Document 1           Filed 06/02/25      Page 4 of 32   PageID #: 4
        24.     Plaintiff Idil Issak was born in Somalia but relocated to the United States in 1994 and

is a United States citizen.

        25.     During her first year of college, Ms. Issak attended American University in Dubai,

located in the United Arab Emirates (“UAE”).

        26.     After her first year of college, Ms. Issak returned to the United States; she then

obtained a Bachelor’s Degree in Journalism from the University of Memphis, and a second Bachelor’s

Degree in Anthropology from the University of Tennessee.

        27.     Upon graduation, Ms. Issak returned to the UAE on a work visa where she witnessed

foreign female domestic workers suffering human rights abuses.

        28.     This injustice motivated Ms. Issak to enter the PhD program at the University so she

could research, understand, and write about the mental and physical burdens carried by enslaved

and/or abused foreign female domestic workers in the UAE.

        29.     Currently, Plaintiff is in her seventh year of a PhD program in Cultural Anthropology

at the University of Tennessee-Knoxville.

        30.     Plaintiff’s proposed PhD dissertation is titled Unraveling the Complexities of Ethiopian

Female Domestic Workers’ Experiences and Their Responses to Exploitation in the UAE and focuses on the

plight of domestic workers in two of the seven United Emirates, Sharjah and Ajman.

B.      The University Approved Ms. Issak for PhD Admission to Candidacy

        31.     Obtaining a PhD at the University of Tennessee may take as many as eight years and

costs approximately $320,000 for an in-state resident and approximately $464,000 for an out-of-state

resident.

        32.     PhD students must take 48 credit hours of coursework and 24 credit hours related to

their dissertation.



                                                   5

  Case 3:25-cv-00238          Document 1        Filed 06/02/25      Page 5 of 32       PageID #: 5
        33.     Non-course requirements include annual performance reviews, comprehensive

written exams with oral defense components, submission of a formal dissertation proposal, and an

oral presentation and oral defense of the candidate’s dissertation.

        34.     Before a student can apply for “Admission to Candidacy,” a PhD candidate must: a)

complete course work and satisfy GPA requirements; b) take and pass the Comprehensive

Examination; c) establish a Doctoral Committee; and d) meet the residency requirement. Only after

satisfying those conditions may a student defend his or her dissertation.

        35.     The Comprehensive Examination has both a written and oral component.

        36.     The written portion of the exam must be completed within seven days from when the

student begins the exam.

        37.     Students must complete the oral portion of the exam within two months after

completion of the written portion.

        38.     Plaintiff completed both portions of the Comprehensive Examination by June 28,

2024.

        39.     A Doctoral Committee must also approve a student’s dissertation proposal within one

semester of the student’s completion of his or her Comprehensive Examination.

        40.     The dissertation proposal includes the framework, background, questions to be

answered, and method of research for the PhD student’s planned dissertation.

        41.     The entire Doctoral Committee must approve the PhD student’s dissertation

proposal.

        42.     Plaintiff’s advisor, Dr. Raja Swamy, approved Ms. Issak’s dissertation proposal on

November 13, 2023.

        43.     That same day, the Doctoral Committee approved Ms. Issak’s dissertation proposal.



                                                   6

  Case 3:25-cv-00238          Document 1        Filed 06/02/25        Page 6 of 32   PageID #: 6
        44.      Plaintiff’s Doctoral Committee consists of researchers with expertise on the subject

matter of Plaintiff’s dissertation.

        45.      Dr. Tamar Shirinian is part of the Doctoral Committee and has a background in

trauma research, which aligns with Plaintiff’s dissertation goal of understanding the trauma Ethiopian

domestic workers have undergone.

        46.      Dr. Asafa Jalata is part of the Doctoral Committee and is a leading scholar on Ethiopia,

and his work as a sociologist aligns with the goals of anthropological research.

        47.      Dr. Kristin Monroe is part of the Doctoral Committee and is an Associate Professor

of Anthropology at the University of Kentucky. Her expertise lies in doing research in the Middle East

with vulnerable populations, which aligns with Plaintiff’s dissertation goals.

        48.      Plaintiff successfully defended her dissertation proposal on November 13, 2023.

        49.      On April 29, 2025, the University officially admitted Ms. Issak to PhD candidacy,

establishing the Summer of 2026 for the conferral of her degree.

        50.      To obtain her degree, Ms. Issak must first complete and defend the dissertation the

Doctoral Committee approved.

        51.      Plaintiff, however, is stymied from conducting the necessary communicative research

for her dissertation because the University Defendants require Plaintiff to first obtain IRB approval.

C.      The Institutional Review Board’s Requirements for Social Science Research

        52.      The IRB is an administrative body under the University’s Human Research Protection

Program.

        53.      The IRB “has the authority to approve, disapprove, monitor, and require

modifications in all research activities that fall within its jurisdiction[.]” 5


5
  What is the IRB?, UNIVERSITY OF TENNESSEE -KNOXVILLE RESEARCH INTEGRITY & ASSURANCE,
https://research.utk.edu/research-integrity/human-research-protection-program/for-irb-members/.
                                                       7

    Case 3:25-cv-00238          Document 1          Filed 06/02/25        Page 7 of 32   PageID #: 7
        54.     The University provides the IRB jurisdiction to oversee research that involves

communicating with third parties where the communicative research involves a “systematic

investigation” “designed to contribute to generalizable knowledge.” 6

        55.     A systematic investigation is defined by the University as “[a]n activity that involves a

prospective study plan that incorporates data collection, either quantitative or qualitative, and data

analysis to answer a study question.”7

        56.     Generalizable knowledge is defined by the University as “[i]nvestigations … designed

to draw general conclusions (i.e., knowledge gained from a study may be applied to populations outside

of the specific study population), inform policy, or generalize findings.” 8

        57.     However, not all communicative research requires IRB approval: The University

provides examples of research that may fall outside the purview of the IRB, such as a biography or

oral history “if the information being collected focuses directly on the specific individuals about whom

the information is collected and not on generalizing the information or findings to other individuals.”9

        58.     The University’s definition of “generalizable knowledge” is vague, leaving the IRB

with unconstrained discretion to determine whether communicative research requires IRB approval.

        59.     Upon information and belief, the IRB initially concluded that Plaintiff’s proposed

communicative research involved “systematic investigation” designed to contribute to “generalizable

knowledge.”




6
   Human Research Protection Program FAQs, UNIVERSITY OF TENNESSEE -KNOXVILLE RESEARCH
INTEGRITY & ASSURANCE , https://research.utk.edu/research-integrity/human-research-protection-
program/human-research-protection-program-faqs/ (emphasis deleted).
7
   Do I Need IRB Review?, UNIVERSITY OF TENNESSEE -KNOXVILLE RESEARCH INTEGRITY &
ASSURANCE , https://research.utk.edu/research-integrity/human-research-protection-program/for-
researchers/before-you-begin-2/activities-requiring-irb-review/.
8
  Id.
9
  Id.
                                                    8

    Case 3:25-cv-00238        Document 1         Filed 06/02/25       Page 8 of 32      PageID #: 8
        60.     Upon information and belief, the University Defendants require IRB approval of

Plaintiff’s communicative research even though the Doctoral Committee—with expertise aligned with

Plaintiff’s dissertation topic—already approved Ms. Issak’s dissertation proposal.

        61.     To obtain IRB approval, PhD candidates must submit to the IRB: a) a completed IRB

application; b) recruitment and screening materials for the proposed research; c) informed consent

documents; and d) data collection materials.

        62.     When a student’s research subjects are located outside the United States, the IRB

requires the student to obtain 1) a letter stating whether the local government requires review, and 2)

a memo of cultural appropriateness.

D.      Plaintiff’s Interaction with the IRB

        63.     Plaintiff submitted her first application to the IRB on or about February 29, 2024, has

amended her application to the IRB more than five times, and has yet to obtain IRB approval.

        64.     Plaintiff initially sought expedited review from the IRB, but the IRB denied her request

for expedited review.

        65.     Upon information and belief, the individual or individuals who reviewed Plaintiff’s

application for expedited review lacked a scholarly expertise related to subject matter of Plaintiff’s

proposed research despite the fact that the University’s IRB Standard Operating Procedures (“SOP”)

provide that “[d]esignated reviewers must be professionally competent (i.e., experienced with and

having demonstrated the ability to apply IRB review requirements and with appropriate scientific or

scholarly expertise) to conduct expedited reviews.”

        66.     Upon information and belief, the IRB also did not have a cultural anthropologist

review Ms. Issak’s proposed communicative research before seeking clarifying and/or additional

information, even though the SOP provides that “[w]hen the IRB is presented with a research study

which may be outside of the knowledge base or representative capacity of the IRB members, an

                                                      9

  Case 3:25-cv-00238           Document 1         Filed 06/02/25    Page 9 of 32       PageID #: 9
outside consultant will be sought[.] … Research studies for which appropriate expertise cannot be

obtained for a given meeting will be deferred to another meeting when appropriate expertise is

available.”

        67.    Upon information and belief, none of the IRB members who reviewed Ms. Issak’s

proposed research had knowledge of the relevant laws of the UAE.

        68.    Upon information and belief, none of the IRB members who reviewed Ms. Issak’s

proposed research spoke or read Arabic or Amharic, even though the SOP provide that “[t]o ensure

that translated documents are accurate, the IRB may choose to require a certified translation, to have

an independent back-translation, or to have a review of the translated documents by an IRB member

or other person who is fluent in the language.”

        69.    The IRB later refused to consider Ms. Issak’s application because it wrongly believed

she needed approval from the UAE to conduct research in the UAE.

        70.    Specifically, the May 17, 2024, IRB decision letter stated “Pursuant to the DOH

Standard on Human Subjects Research, this study requires approval from an Ethics Committee within

the UAE. Please resubmit once this approval has been obtained.”

        71.    Plaintiff responded to IRB Chair Dr. Beebe by explaining that the DOH Standard only

applies to the Abu Dhabi emirate and that because she was only conducting her proposed

communicative research in two different emirates, namely Sharjah and Ajman, approval by an Ethics

Committee in the UAE was not required.10

        72.    The IRB informed Plaintiff in a May 31, 2024, letter that “[i]n order to be placed on

the full board agenda, all provisos within said outcome letter must be addressed and submitted by the

required deadline of June 3, 2024. This includes proviso 1, which states, ‘Pursuant to the DOH


10
  The UAE is a country in the middle east comprised of seven emirates, each of which has unique
laws.
                                                  10

 Case 3:25-cv-00238         Document 1       Filed 06/02/25      Page 10 of 32       PageID #: 10
Standard on Human Subjects Research, this study requires approval from an Ethics Committee within

the UAE. Please resubmit once this approval has been obtained.’”

        73.     The IRB’s May 31, 2024 decision letter added: “As the student investigator has

indicated the emirates in which research will be conducted do not require Ethics Committee approval,

the IRB requires that the Memo of Cultural Appropriateness be revised to clearly state the emirates

for which the signer has cultural and regulatory knowledge and whether or not those emirates require

Ethics Committee approval to conduct the research procedures as described in the protocol.”

        74.     The IRB refused to consider Plaintiff’s application without this memorandum even

though the DOH Standard expressly stated its purpose is “[t]o define the regulatory requirements for

the conduct of clinical research involving human subjects in the Emirate of Abu Dhabi,” and even

though Plaintiff’s proposed research did not involve individuals in the Emirate of Abu Dhabi.

        75.     On June 3, 2024, Plaintiff provided the IRB a letter confirming the DOH Standard

does not apply to Plaintiff’s research because she is not conducting research in Abu Dhabi: That letter

stated “[w]hile there are Emirate-level regulations that apply to human-subjects research in Abu Dhabi,

the same do not apply to research in Sharjah or Ajman.”

        76.     Thereafter, the IRB continued to reject Ms. Issak’s application, requiring her to

provide additional or clarifying information.

        77.     The last decision letter from the IRB, dated August 2, 2024, and signed by Defendant

Withrow on behalf of the IRB, stated, among other things: “Your application currently does not show

that the project meets the definition for human subjects research as a systematic investigation designed

to contribute to generalizable knowledge.”

        78.     Although the IRB’s “authority to approve, disapprove, monitor, and require

modifications in all research activities” is limited to activities that “fall within its jurisdiction,” and

although the IRB jurisdiction is limited to research that involves a “systematic investigation” “designed

                                                    11

Case 3:25-cv-00238           Document 1         Filed 06/02/25       Page 11 of 32        PageID #: 11
to contribute to generalizable knowledge,” the IRB in its August 2, 2024, letter did not disclaim

jurisdiction over Plaintiff’s research; to the contrary, the IRB’s letter instructed Plaintiff to further

revise her application, leading Plaintiff to reasonably fear that if she begins her communicative

research without IRB approval, she will be subject to discipline and jeopardize her PhD.

        79.     Upon information and belief, the IRB, as a body, has yet to review Ms. Issak’s

application.

        80.     The IRB, as a body, only reviews applications once per month, so every time individual

members of the IRB request clarification or additional information, it delays consideration by the full

board and in turn Plaintiff’s research and her ability to graduate.

E.      But for the Institutional Review Board’s Abridgement of Plaintiff’s Free Speech
        Rights, Plaintiff Could Begin Her Dissertation Research

        81.     Although the Doctoral Committee has approved Ms. Issak’s dissertation proposal, she

cannot begin her research until the IRB approves her application.

        82.     Conducting research absent IRB approval can result in “[being] subject to non-

compliance and research misconduct reporting to university officials.” 11

        83.     IRB approval is necessary for the successful completion of a PhD program because

students cannot get a PhD until they pass a final oral examination, and they cannot take that

examination until they write their dissertations, but they cannot begin their research for the dissertation

until the IRB approves the application.

        84.     PhD candidates must complete the program within eight years of enrollment. Plaintiff

is currently in her seventh year and still awaits approval by the IRB.




11
   Human Research Protection Program FAQs, UNIVERSITY OF TENNESSEE -KNOXVILLE RESEARCH
INTEGRITY & ASSURANCE , https://research.utk.edu/research-integrity/human-research-protection-
program/human-research-protection-program-faqs/.
                                                    12

 Case 3:25-cv-00238          Document 1         Filed 06/02/25        Page 12 of 32       PageID #: 12
          85.   The Defendants’ requirement for IRB approval has delayed Plaintiff’s ability to

complete her research and puts at risk her ability to timely complete the PhD program.

F.        The IRB Regulates Fully Protected Speech, Not Conduct

          86.   Ms. Issak’s efforts to develop and contribute to generalizable knowledge not only

trigger coverage under the IRB policy, but also, in and of itself, constitute speech within the meaning

of the First Amendment. See Sorrell v. IMS Health Inc., 564 U.S. 552, 570 (2011) (“[T]he creation and

dissemination of information are speech within the meaning of the First Amendment.”).

          87.   In her dissertation, Plaintiff hopes to gather data through verbal communication that

allows her to evaluate the adversities—mental and physical—faced by domestic workers in the UAE,

grouping the women qualitatively by common experiences.

          88.   Plaintiff’s research seeks to develop and contribute to generalizable knowledge by use

of interviews and her written analysis of the interviews and thus Plaintiff’s research consists wholly of

protected speech. See ETW Corp. v. Jireh Publ’g, Inc., 332 F.3d 915, 924 (6th Cir. 2003) (explaining that

“[t]he protection of the First Amendment is not limited to written or spoken words”); see also Burson

v. Freeman, 504 U.S. 191, 207 (1992) (referring to “exit polling” as “other types of speech”); Connick v.

Myers, 461 U.S. 138, 149–50 (1983) (characterizing a survey as “speech”).

          89.   Further, the fact that Ms. Issak’s “speech” consists of questions, is of no matter for

“[q]uestions, no less than forcefully stated opinions and facts, carry messages.” See Connick, 461 U.S.

at 152.

          90.   Because Plaintiff’s speech seeks to “develop or contribute to generalizable

knowledge,” the University requires IRB approval.




                                                   13

Case 3:25-cv-00238          Document 1         Filed 06/02/25      Page 13 of 32        PageID #: 13
        91.     Upon information and belief, Defendants would not require Ms. Issak to obtain IRB

approval if she intended to write an oral history summarizing her interviews and/or did not seek to

contribute to generalizable knowledge.12

        92.     The Supreme Court has made clear that what “trigger[s] coverage,” controls the

determination of whether a regulation governs “speech” or “conduct.” Holder v. Humanitarian Law

Project, 561 U.S. 1, 28 (2010). Thus, if the so-called “conduct” that “trigger[s]” coverage “consists of

communicating a message,” then the law regulates speech. Id.

        93.     Because whether Defendants required Plaintiff to obtain IRB approval rests on the

content of her speech, namely whether her communication research seeks to “develop or contribute

to generalizable knowledge,” the IRB policy regulates speech and not conduct.

G.      The University’s IRB Mandate Is an Unconstitutional Licensing Requirement and
        Thus a Prior Restraint

        94.     Requiring Ms. Issak to obtain IRB approval prior to engaging in speech related to her

PhD dissertation establishes a licensing system and constitutes an unconstitutional prior restraint.

        95.     Plaintiff cannot begin her research until the IRB approves it, otherwise she is subject

to discipline and jeopardizes her PhD, as conducting research absent IRB approval means being

“subject to non-compliance and research misconduct reporting to university officials.” 13

        96.     Such authoritarian licensing of the “publication of literature” was practiced “[i]n Tudor

England[,] [where] officers of the Crown were given roving commissions to search where they pleased

in order to suppress and destroy the literature of dissent, both Catholic and Puritan[,]” however, it

was thoroughly rejected in our Republic. Stanford v. Texas, 379 U.S. 476, 482 (1965).




12
  See Do I Need IRB Review?, supra at n.7.
13
   Human Research Protection Program FAQs, UNIVERSITY OF TENNESSEE -KNOXVILLE RESEARCH
INTEGRITY & ASSURANCE , https://research.utk.edu/research-integrity/human-research-protection-
program/human-research-protection-program-faqs/.
                                                   14

 Case 3:25-cv-00238         Document 1        Filed 06/02/25       Page 14 of 32        PageID #: 14
          97.    The act of licensing “is to subject all freedom of sentiment to the prejudices of one

man, and make him the arbitrary and infallible judge of all controverted points in learning, religion,

and government.” Near v. Minnesota ex rel. Olson, 283 U.S. 697, 733–34 (1931) (quotations and citations

omitted).

          98.    Accordingly, the Founding generation ratified the First Amendment to protect against

such licensing mandates.

          99.    The reasoning is simple: If the permit scheme “involves appraisal of facts, the exercise

of judgment, and the formation of an opinion,” Cantwell v. Connecticut, 310 U.S. 296, 305 (1940), by the

licensing authority, “the danger of censorship and of abridgment of our precious First Amendment

freedoms is too great” to be permitted, Se. Promotions Ltd. v. Conrad, 420 U.S. 546, 553 (1975).

          100.   Licensing, or prior review, of speech is additionally unconstitutional when it is

discretionary, as “a law subjecting the exercise of First Amendment freedoms to the prior restraint of

a license must contain narrow, objective, and definite standards to guide the licensing authority.”

Forsyth Cnty. v. Nationalist Movement, 505 U.S. 123, 131 (1992) (quotations and citations omitted).

          101.   A restriction that “makes the peaceful enjoyment of freedoms which the Constitution

guarantees contingent upon the uncontrolled will of an official—as by requiring a permit or license

which may be granted or withheld in the discretion of such official—is an unconstitutional censorship

or prior restraint upon the enjoyment of those freedoms.” Staub v. City of Baxley, 355 U.S. 313, 322

(1958).

          102.   The University, however, failed to provide the IRB narrow, objective, and definite

standards to guide its review of applications and instead granted the IRB unconstrained discretion to

both determine whether IRB approval is required and then to appraise facts, exercise judgment, and

formulate opinions concerning whether to approve the proposed communicative research.



                                                   15

Case 3:25-cv-00238           Document 1        Filed 06/02/25       Page 15 of 32       PageID #: 15
        103.    Specifically, the SOP provide that “[r]eviewing officials may strengthen requirements

and/or conditions, or add other modifications before approval, or may require approval by an

additional committee, office, or person.”

        104.    In refusing to approve Ms. Issak’s application, the IRB made numerous judgments

that involved significant and unfettered discretion, such as determining the “importance of the

knowledge” to be gained and if the “[r]isks to the subjects” from interviews “are reasonable in relation

to anticipated benefits” to the subject.14

        105.    Further, the IRB outsourced its discretion to approve communicative research to non-

citizens by requiring applicants to obtain letters of “cultural appropriateness” from a local authority.

        106.    “[T]he mere existence of the licensor’s unfettered discretion, coupled with the power

of prior restraint, intimidates parties into censoring their own speech, even if the discretion and power

are never actually abused.” City of Lakewood v. Plain Dealer Publ’g Co., 486 U.S. 750, 757 (1988).

        107.    The University’s requirement that Ms. Issak obtain approval of her speech from the

IRB suppressed and chilled Ms. Issak’s speech, prompting her to narrow the areas of her inquiry: Ms.

Issak’s final application to the IRB contained only 25% of the content she originally intended to

research.

        108.    Upon information and belief, the IRB requirement has chilled some other graduate

students’ speech by prompting them to modify their proposed dissertations or causing them to opt

for degrees that do not require IRB approval.

H.      The IRB Policy Establishes an Unconstitutional Condition to Obtaining Her PhD




14
  Full Board Review, UNIVERSITY OF TENNESSEE -KNOXVILLE RESEARCH INTEGRITY & ASSURANCE,
https://research.utk.edu/research-integrity/full-board-
review/#:~:text=Risks%20to%20subjects%20are%20minimized,for%20diagnostic%20or%20treat
ment%20purposes.
                                                   16

 Case 3:25-cv-00238          Document 1        Filed 06/02/25       Page 16 of 32        PageID #: 16
        109.      For Plaintiff to begin her dissertation research and graduate, she must succumb to the

speech restraints dictated by the IRB. In other words, the IRB has conditioned the furtherance of

Plaintiff’s PhD on her forfeiting her First Amendment rights.

        110.      The unconstitutional conditions doctrine “vindicates the Constitution’s enumerated

rights by preventing the government from coercing people into giving them up.” Koontz v. St. Johns

River Water Mgmt. Dist., 570 U.S. 595, 604 (2013).

        111.      “The government may not deny an individual a benefit, even one an individual has no

entitlement to, on a basis that infringes his constitutional rights.” Planned Parenthood of Greater Ohio v.

Hodges, 917 F.3d 908, 911 (6th Cir. 2019).

I.      The University’s IRB Requirement Constitutes a Content-Based Restriction on
        Speech Subject to Strict Scrutiny

        112.      The IRB policy creates a content-based regulation because whether the research

requires IRB approval depends on the content of the speech.

        113.      Specifically, the IRB policy distinguishes between communicative research designed to

produce “generalizable” versus “non-generalizable” knowledge, requiring IRB approval for the former

communicative research but not the latter.

        114.      Thus, “[s]cholarly and journalistic activities” such as “oral history, journalism,

biography, literary criticism, legal research, and historical scholarship” generally do not require IRB

approval because they purportedly do not produce “generalizable” knowledge.15 Cf. 45 C.F.R.

§ 46.102(l)(1).

        115.      “Regulation of speech is content-based and therefore subject to strict scrutiny ‘if a law

applies to particular speech because of the topic discussed or the idea or message expressed’; some


15
   Do I Need IRB Review?, UNIVERSITY OF TENNESSEE -KNOXVILLE RESEARCH INTEGRITY &
ASSURANCE , https://research.utk.edu/research-integrity/human-research-protection-program/for-
researchers/before-you-begin-2/activities-requiring-irb-review/
                                                     17

 Case 3:25-cv-00238           Document 1        Filed 06/02/25       Page 17 of 32        PageID #: 17
obvious facial distinctions based on a message include ‘defining regulated speech by particular subject

matter’ or ‘by its function or purpose.’” Int’l Outdoor, Inc. v. City of Troy, 974 F.3d 690, 703 (6th Cir.

2020) (quoting Reed v. Town of Gilbert, 576 U.S. 155, 163–64 (2015)).

        116.     The Supreme Court in Arkansas Writers’ Project, Inc. v. Ragland, 481 U.S. 221 (1987),

found a state tax content-based where the statute drew a distinction similar to the

“generalizable”/”non-generalizable” knowledge one at issue in the IRB policy.

        117.    In Ragland, the Court held that a tax on “general interest” magazines, but not on

religious, trade, professional, and sports ones, was content based. Id. at 223, 230. Put plainly, “a

magazine’s tax status depend[ed] entirely on its content.” Id. at 229.

        118.    In that case, to determine whether the tax applied to a magazine, the “enforcement

authorities [had to] necessarily examine the content of the message that [was] conveyed.” Id. at 230

(quoting FCC v. League of Women Voters of Cal., 468 U.S. 364, 383 (1984)).

        119.    Under Ragland, then, the IRB policy’s distinction between “generalizable” and “non-

generalizable” knowledge represents a content-based restriction on speech.

        120.    “Content-based laws—those that target speech based on its communicative content—

are presumptively unconstitutional and may be justified only if the government proves that they are

narrowly tailored to serve compelling state interests.” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015).

        121.    Further, such content-based regulations are “subject to strict scrutiny regardless of the

government’s benign motive, content-neutral justification, or lack of ‘animus toward the ideas

contained’ in the regulated speech.” Id. at 165 (quoting Cincinnati v. Discovery Network, Inc., 507 U.S.

410, 429 (1993)).

        122.    “Only rarely are statutes sustained in the face of strict scrutiny.” Bernal v. Fainter, 467

U.S. 216, 219 n.6 (1984).



                                                    18

Case 3:25-cv-00238           Document 1         Filed 06/02/25       Page 18 of 32       PageID #: 18
J.        The University’s IRB Requirement Is a Speaker-Based Restriction of Speech Subject
          to Strict Scrutiny

          123.   Not only is the IRB policy content-based, but it is also speaker-based.

          124.   The IRB policy imposes speaker-based restriction similar to those at issue in Ragland—

just as the tax scheme in that case treated “general interest” magazines “less favorably than others,”

481 U.S. at 229, the IRB policy treats speakers addressing “generalizable knowledge” less favorably

than others.

          125.   Specifically, the IRB policy treats speech by historians, journalists, and behavioral

scientists differently, with historians and journalists generally not subject to the IRB policy because

they do not intend to contribute to “generalizable knowledge.” Cf. Letter from Michael A. Carome,

Assoc. Dir. for Regul. Affairs, Off. for Hum. Rsch. Prots. to Linda Shopes and Donald Ritchie,

Leaders of the Oral History Ass’n (Sept. 22, 2003)16 (hereinafter, “Oral History Letter”).

          126.   Even though historians conducting oral-history research systematically conduct

interviews and “reach for meaning that goes beyond the specific subject of their inquiry,” the

government assumes that such historians, unlike researchers in the behavioral sciences, “do not reach

for generalizable principles of historical or social development, nor do they seek underlying principles

or laws of nature that have predictive value and can be applied to other circumstances for the purpose

of controlling outcomes.”17

          127.   The University requires IRB approval of Plaintiff’s communicative research because

Ms. Issak seeks to qualitatively group participants to identify patterns, to delineate common themes,

and then to speak about generalizable principles in her dissertation.




16
     https://research.unl.edu/orr/docs/OHRPResponsetoOralHistories.pdf
17
     Id.
                                                   19

 Case 3:25-cv-00238           Document 1       Filed 06/02/25      Page 19 of 32       PageID #: 19
        128.    Upon information and belief, the University would not require historians and

journalists who conduct equivalent communicative research to obtain IRB approval if they do not

seek to speak about generalizable principles.

        129.    Accordingly, the IRB policy requires Plaintiff to obtain IRB approval for her research

because she is a qualitative researcher and not an historian or a journalist. See Sorrell, 564 U.S. at 564

(holding that a prohibition on disseminating prescriber-identifying information, only if it would be

used for marketing, was speaker-based because it “disfavor[ed] specific speakers, namely

pharmaceutical manufacturers”).

        130.    Thus, while the IRB requirement purportedly seeks to protect individuals interviewed

as part of communicative research, the application of the IRB in the social sciences lacks any

congruence with that goal.

        131.    Speaker-based discrimination is only permissible if the IRB policy satisfies strict

scrutiny. See Reed, 576 U.S. at 168–70 (quoting Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 658 (1994))

(holding “laws favoring some speakers over others demand strict scrutiny when the legislature’s

speaker preference reflects a content preference”).

K.      The University’s IRB Policy Establishes a Viewpoint-Based Regulation of Speech
        Subject to Strict Scrutiny

        132.    Further, the IRB’s policy establishes a viewpoint-based regulation of speech by

refusing to consider research conducted internationally unless the applicant obtains a letter stating the

research is deemed “culturally appropriate” in the country in which the research will take place, making

third parties the arbiters of what communicative research is allowed based on the viewpoint of the

research.




                                                   20

Case 3:25-cv-00238           Document 1         Filed 06/02/25      Page 20 of 32        PageID #: 20
        133.    Government discrimination among viewpoints—those targeting “particular views”—

is a “more blatant” and “egregious form of content discrimination.” Rosenberger v. Rector and Visitors of

Univ. of Va., 515 U.S. 819, 829 (1995).

        134.     “If there is a bedrock principle underlying the First Amendment, it is that the

government may not prohibit the expression of an idea simply because society finds the idea itself

offensive or disagreeable.” Snyder v. Phelps, 562 U.S. 443, 458 (2011) (quoting Texas v. Johnson, 491 U.S.

397, 414 (1989)).

        135.    Further, “[d]iscrimination against speech because of its message is presumed to be

unconstitutional.” Rosenberger, 515 U.S. at 828.

        136.     “Both content- and viewpoint-based            discrimination are subject to strict

scrutiny. … No state action that limits protected speech will survive strict scrutiny unless the

restriction is narrowly tailored to be the least-restrictive means available to serve a compelling

government interest.” Bible Believers v. Wayne Cnty., 805 F.3d 228, 248 (6th Cir. 2015) (internal citations

omitted).

        137.    The IRB requirement that an applicant obtain a statement of the cultural

appropriateness of the research is thus a further unconstitutional abridgment of speech. See McIntyre v.

Ohio Elections Comm’n, 514 U.S. 334, 357 (1995) (explaining the very “purpose behind the Bill of Rights,

and of the First Amendment in particular: to protect unpopular individuals[’] … ideas from

suppression . . . at the hand of an intolerant society”).

L.      University’s Officials Ratified the IRB’s Abridgement of Plaintiff’s Free Speech Rights

        138.    After the IRB refused to approve Plaintiff’s application and directed her to provide

additional and/or clarifying information, upon information and belief, Defendant Patrick Grzanka,

the Divisional Dean for Social Sciences in the College of Arts and Sciences, Defendant Michael Blum,

the College of Arts and Sciences Associate Dean for Research and Creative Activity, and Defendant

                                                    21

Case 3:25-cv-00238           Document 1         Filed 06/02/25       Page 21 of 32       PageID #: 21
Barbara Heath, the Department Head of Anthropological Archaeology, discussed the IRB review

process with Defendant Dr. Lora Beebe, Chair of the IRB, and Defendant Robert Withrow, alternate

member of IRB and Director of Human Research Protection Program.

        139.     Upon information and belief, Defendants Grzanka, Blum, and Heath agreed that Ms.

Issak must obtain IRB approval and that the IRB held sole authority, in its discretion, to approve or

reject her application.

                                     FIRST CLAIM FOR RELIEF

               42 U.S.C. § 1983: Abridgement of Plaintiff’s Right to Freedom of Speech
                                   In Violation of First Amendment
                     Against University Defendants in Their Official Capacities

        140.     Plaintiff incorporates and realleges the allegations contained in the preceding

paragraphs of this Complaint.

        141.     University Defendants maintain an unconstitutional custom or policy that requires

IRB approval for social science communicative research that seeks to “develop or contribute to

generalizable knowledge.”

        142.     University Defendants maintain an unconstitutional custom or policy that requires

PhD social science candidates conducting communicative research internationally to establish such

communicative research is “culturally appropriate.”

        143.     Pursuant to their custom or policy, the University Defendants established an

unconstitutional licensing scheme and prior restraint to Plaintiff’s speech by prohibiting Plaintiff from

conducting her communicative research for her already-approved dissertation proposal absent IRB

approval, and by delegating unlawful, unconstrained, and unmoored discretion to the IRB, chilling

Plaintiff’s speech.




                                                   22

Case 3:25-cv-00238          Document 1         Filed 06/02/25      Page 22 of 32        PageID #: 22
        144.    Pursuant to their custom or policy, University Defendants unconstitutionally

conditioned Plaintiff’s ability to complete her already-approved dissertation proposal on IRB approval

of her proposed speech.

        145.    Pursuant to their custom or policy, University Defendants unconstitutionally applied

a content-based regulation to Plaintiff’s speech by requiring her to obtain IRB approval for her

communicative research because Plaintiff intends to write about “generalizable” knowledge in her

dissertation; such approval would not be required if Plaintiff sought to write about “non-

generalizable” knowledge.

        146.    Pursuant to their custom or policy, University Defendants unconstitutionally applied

a speaker-based regulation to Plaintiff’s speech: Ms. Issak, a social scientist communicating about

generalizable knowledge must obtain IRB approval, while researchers who do not seek to speak about

generalizable knowledge need not obtain IRB approval.

        147.    Pursuant to their custom or policy, University Defendants unconstitutionally applied

a viewpoint-based regulation to Plaintiff’s speech by requiring Plaintiff to establish her proposed

research is “culturally appropriate.”

        148.    University Defendants lack a compelling governmental interest in requiring IRB

approval for Plaintiff’s research and in requiring Plaintiff to establish her research is “culturally

appropriate.”

        149.    Plaintiff seeks prospective relief in the form of a declaratory judgment holding the

University Defendants’ IRB mandate requiring approval of social science PhD candidates’

communicative research, who are not funded by the federal government, constitutes an

unconstitutional abridgement of free speech in violation of the First Amendment, and entry of a




                                                 23

Case 3:25-cv-00238          Document 1       Filed 06/02/25       Page 23 of 32      PageID #: 23
permanent injunction barring the University from requiring Plaintiff to obtain IRB approval for her

communicative research.18

                                 SECOND CLAIM FOR RELIEF

            42 U.S.C. § 1983: Abridgement of Plaintiff’s Right to Freedom of Speech
                                In Violation of First Amendment
         Against Defendants Grzanka, Blum, and Heath in Their Individual Capacities

        150.    Plaintiff incorporates and realleges the allegations contained in the preceding

paragraphs of this Complaint.

        151.    Defendants Grzanka, Blum, and Heath deprived Ms. Issak of her First Amendment

right to freedom of speech by applying the University’s unconstitutional IRB mandate to Plaintiff.

        152.    Defendants Grzanka, Blum, and Heath acted under color of state law and, upon

information and belief, were personally involved in the decision to apply the University’s

unconstitutional IRB mandate to Plaintiff, and to provide the IRB with unconstrained and unmoored

discretion to approve or deny Plaintiff’s application.

        153.    It has long been clearly established that discretion awarded a licensing body must be

constrained. See Forsyth Cnty., 505 U.S. at 131 (“[A] law subjecting the exercise of First Amendment

freedoms to the prior restraint of a license must contain narrow, objective, and definite standards to

guide the licensing authority.”) (quotations and citations omitted). Further, “[w]hile [p]rior restraints

are not unconstitutional per se … [a]ny system of prior restraint … comes to this Court bearing a heavy

presumption against its constitutional validity.” FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 225 (1990)

(quotations and citations omitted).




18
  Should University Defendants’ continued violation of Plaintiff’s First Amendment rights prevent
her from completing her dissertation within the eight-year time frame established by the University,
Plaintiff will seek preliminary relief to avoid that irreparable harm.
                                                   24

 Case 3:25-cv-00238          Document 1        Filed 06/02/25       Page 24 of 32        PageID #: 24
        154.    Defendants Grzanka, Blum, and Heath acted under color of state law and, upon

information and belief, were personally involved in the decision to unconstitutionally condition

Plaintiff’s ability to complete her already-approved dissertation proposal on IRB approval of her

proposed speech.

        155.    It has long been clearly established that “[t]he government may not deny an individual

a benefit, even one an individual has no entitlement to, on a basis that infringes his constitutional

rights.” Planned Parenthood of Greater Ohio, 917 F.3d at 911.

        156.    Defendants Grzanka, Blum, and Heath acted under color of state law and, upon

information and belief, were personally involved in the decision to apply an unconstitutional content-

based regulation to Plaintiff’s speech by requiring her to obtain IRB approval for her communicative

research because Plaintiff intends to write about “generalizable” knowledge in her dissertation; such

approval would not be required if Plaintiff sought to write about “non-generalizable” knowledge.

        157.    It has long been clearly established that content-based speech restrictions are

“presumptively unconstitutional and may be justified only if the government proves that they are

narrowly tailored to serve compelling state interests.” Reed, 576 U.S. at 163.

        158.    Defendants Grzanka, Blum, and Heath acted under color of state law and, upon

information and belief, were personally involved in the decision to apply an unconstitutional speaker -

based regulation to Plaintiff’s speech: Ms. Issak, a social scientist communicating about generalizable

knowledge, must obtain IRB approval, while researchers who do not seek to speak about generalizable

knowledge need not obtain IRB approval.

        159.    It has long been clearly established that speaker-based restrictions are subjected to

heighted scrutiny and that speaker-based restrictions with a similar lack of governmental justification

are unconstitutional. See Sorrell, 564 U.S. at 564 (holding that a prohibition on disseminating prescriber-



                                                    25

Case 3:25-cv-00238           Document 1         Filed 06/02/25       Page 25 of 32        PageID #: 25
identifying information, only if it would be used for marketing, was speaker-based because it

“disfavor[ed] specific speakers, namely pharmaceutical manufacturers”).

        160.     Defendants Grzanka, Blum, and Heath acted under color of state law and, upon

information and belief, were personally involved in the decision to apply an unconstitutional

viewpoint-based regulation to Plaintiff’s speech by requiring Plaintiff to establish her proposed

research is “culturally appropriate.”

        161.     It has long been clearly established that “[d]iscrimination against speech because of its

message is presumed to be unconstitutional.” Rosenberger, 515 U.S. at 828.

        162.     Plaintiff seeks nominal damages of $1 from each Individual Capacity Defendant for

the above violations of her First Amendment rights.

                                   THIRD CLAIM FOR RELIEF

               42 U.S.C. § 1983: Abridgement of Plaintiff’s Right to Freedom of Speech
                                   In Violation of First Amendment
                        Against IRB Defendants in Their Official Capacities

        163.     Plaintiff incorporates and realleges the allegations contained in the preceding

paragraphs of this Complaint.

        164.     IRB Defendants maintain a custom or policy that requires social science PhD

candidates who conduct communicative research as part of their dissertations to obtain IRB approval

if the students’ dissertation seeks “to develop or contribute to generalizable knowledge.”

        165.     IRB Defendants maintain a custom or policy that requires social science PhD

candidates to obtain a letter stating that the interviews they intend to conduct internationally are

“culturally appropriate.”

        166.     Pursuant to their custom or policy, IRB Defendants unconstitutionally require Plaintiff

to proceed through the IRB process and obtain prior approval of Plaintiff’s proposed communicative



                                                    26

Case 3:25-cv-00238           Document 1        Filed 06/02/25       Page 26 of 32        PageID #: 26
research because she seeks to interview individuals with the intent of writing a dissertation that will

“develop or contribute to generalizable knowledge.”

        167.    Pursuant to their custom or policy, the IRB Defendants applied an unconstitutional

licensing scheme and an unlawful prior restraint to Plaintiff’s speech by prohibiting Plaintiff from

conducting her communicative research for her already-approved dissertation proposal, chilling

Plaintiff’s speech.

        168.    Pursuant to their custom or policy, the IRB Defendants unconstitutionally established

and exercised unconstrained and unmoored discretion in rejecting Ms. Issak’s IRB application.

        169.    Pursuant to their custom or policy, IRB Defendants unconstitutionally conditioned

Plaintiff’s ability to complete her already-approved dissertation proposal on IRB approval of her

proposed communicative research.

        170.    Pursuant to their custom or policy, IRB Defendants unconstitutionally applied a

content-based regulation to Plaintiff’s speech by requiring her to obtain IRB approval for her

communicative research because Plaintiff intended to produce “generalizable” knowledge; such

approval would not be required if Plaintiff sought to speak about “non-generalizable” knowledge.

        171.    Pursuant to their custom or policy, IRB Defendants unconstitutionally applied a

speaker-based regulation to Plaintiff’s speech: Ms. Issak, a social scientist communicating about

generalizable knowledge, must obtain IRB approval, while researchers who do not seek to speak about

generalizable knowledge need not obtain IRB approval.

        172.    Pursuant to their custom or policy, IRB Defendants unconstitutionally applied a

viewpoint-based regulation to Plaintiff’s speech by requiring Plaintiff to establish her proposed

communicative research is “culturally appropriate.”




                                                  27

Case 3:25-cv-00238          Document 1        Filed 06/02/25      Page 27 of 32       PageID #: 27
        173.    IRB Defendants lack a compelling governmental interest in requiring IRB approval

for Plaintiff’s communicative research or in requiring Plaintiff to establish her research was “culturally

appropriate.”

        174.    Plaintiff seeks prospective relief in the form of a declaratory judgment holding the IRB

Defendants may not require Ms. Issak to obtain approval of her dissertation and entry of a permanent

injunction19 barring the IRB Defendants from requiring Plaintiff to obtain approval from the IRB to

complete her communicative research.

                                 FOURTH CLAIM FOR RELIEF

            42 U.S.C. § 1983: Abridgement of Plaintiff’s Right to Freedom of Speech
                                In Violation of First Amendment
         Against Defendants Beebe, Wyatt, and Withrow in Their Individual Capacities

        175.    Plaintiff incorporates and realleges the allegations contained in the preceding

paragraphs of this Complaint.

        176.    Defendants Beebe, Wyatt, and Withrow acted under color of state law and, upon

information and belief, were personally involved in the IRB’s unconstitutional decision to require Ms.

Issak to proceed through the IRB process and to obtain prior approval from the IRB of her proposed

communicative research because Plaintiff seeks to interview individuals with the intent of writing a

dissertation that will “develop or contribute to generalizable knowledge.”

        177.    Defendants Beebe, Wyatt, and Withrow acted under color of state law and, upon

information and belief, were personally involved in applying the IRB’s unconstitutional licensing

scheme and an unlawful prior restraint by prohibiting Plaintiff from conducting her communicative

research for her already-approved dissertation proposal, chilling Plaintiff’s speech.



19
  Should the IRB Defendants’ continued violation of Plaintiff’s First Amendment rights prevent her
from completing her dissertation within the eight-year time frame established by the University,
Plaintiff will seek preliminary relief to avoid that irreparable harm.
                                                   28

 Case 3:25-cv-00238          Document 1        Filed 06/02/25       Page 28 of 32        PageID #: 28
        178.    Defendants Beebe, Wyatt, and Withrow acted under color of state law and, upon

information and belief, were personally involved in establishing and exercising unconstitutional,

unconstrained, and unmoored discretion in rejecting Ms. Issak’s IRB applications.

        179.    It has long been clearly established that discretion awarded a licensing body must be

constrained. See Forsyth Cnty., 505 U.S. at 131 (“[A] law subjecting the exercise of First Amendment

freedoms to the prior restraint of a license must contain narrow, objective, and definite standards to

guide the licensing authority.”) (quotations and citations omitted). Further, “[w]hile [p]rior restraints

are not unconstitutional per se … [a]ny system of prior restraint … comes to this Court bearing a heavy

presumption against its constitutional validity.” FW/PBS, Inc, 493 U.S. at 225 (quotations and citations

omitted).

        180.    Defendants Beebe, Wyatt, and Withrow acted under color of state law and, upon

information and belief, were personally involved in unconstitutionally conditioning Plaintiff’s ability

to complete her already-approved dissertation proposal on IRB approval of her proposed speech.

        181.    It has long been clearly established that “[t]he government may not deny an individual

a benefit, even one an individual has no entitlement to, on a basis that infringes his constitutional

rights.” Planned Parenthood of Greater Ohio, 917 F.3d at 911.

        182.    Defendants Beebe, Wyatt, and Withrow acted under color of state law and, upon

information and belief, were personally involved in the IRB’s unconstitutional content-based decision

that Plaintiff must obtain IRB approval for her research because she intends to produce

“generalizable” knowledge; such approval would not be required if she sought to speak about “non-

generalizable” knowledge.

        183.    It has long been clearly established that content-based speech restrictions are

“presumptively unconstitutional and may be justified only if the government proves that they are

narrowly tailored to serve compelling state interests.” Reed, 576 U.S. at 163.

                                                    29

Case 3:25-cv-00238           Document 1         Filed 06/02/25     Page 29 of 32        PageID #: 29
        184.    Defendants Beebe, Wyatt, and Withrow acted under color of state law and, upon

information and belief, were personally involved in the IRB’s unconstitutional speaker-based decision

that Plaintiff, as a social scientist communicating about generalizable knowledge, must obtain IRB

approval; such approval is not required for speakers of non-generalizable knowledge.

        185.    It has long been clearly established that speaker-based restrictions are subjected to

heighted scrutiny and that speaker-based restrictions with a similar lack of governmental justification

are unconstitutional. See Sorrell, 564 U.S. at 564 (holding that a prohibition on disseminating prescriber-

identifying information, only if it would be used for marketing, was speaker-based because it

“disfavor[ed] specific speakers, namely pharmaceutical manufacturers”).

        186.    Defendants Beebe, Wyatt, and Withrow acted under color of state law and, upon

information and belief, were personally involved in the IRB’s unconstitutional viewpoint-based

decision requiring Plaintiff to establish her proposed research is “culturally appropriate.”

        187.    It has long been clearly established that “[d]iscrimination against speech because of its

message is presumed to be unconstitutional.” Rosenberger, 515 U.S. at 828. “[I]t is the ‘rare case in which

a speech restriction withstands strict scrutiny.’” Susan B. Anthony List v. Driehaus, 814 F.3d 466, 473

(6th Cir. 2016) (quoting Reed, 576 U.S. at 180 (Kagan, J., concurring)).

        188.    Plaintiff seeks nominal damages of $1 from each Individual Capacity Defendant for

the above violations of her First Amendment rights.

                                       RELIEF REQUESTED

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

granting the following relief:

        (i)     Declaratory judgment declaring that the University Defendants and IRB Defendants

                established an unconstitutional licensing scheme and prior restraint by prohibiting



                                                    30

Case 3:25-cv-00238           Document 1         Filed 06/02/25       Page 30 of 32        PageID #: 30
              Plaintiff from conducting her communicative research for her already-approved

              dissertation proposal absent IRB approval of her speech;

     (ii)     Declaratory judgment declaring that the University Defendants granted and IRB

              Defendants exercised unconstitutionally unconstrained and unmoored discretion to

              approve or deny Plaintiff’s speech;

     (iii)    Declaratory judgment declaring that the University Defendants and IRB Defendants

              unconstitutionally conditioned Plaintiff’s ability to complete her already-approved

              dissertation proposal on IRB approval of her proposed speech;

     (iv)     Declaratory judgment declaring that the University Defendants and IRB Defendants

              unconstitutionally applied a content-based regulation to Plaintiff’s speech by requiring

              her to obtain IRB approval for her communicative research because Plaintiff intends

              to write about “generalizable” knowledge in her dissertation;

     (v)      Declaratory judgment declaring the University Defendants and IRB Defendants

              unconstitutionally applied a speaker-based regulation to Plaintiff’s speech by requiring

              Plaintiff, as a social scientist communicating about generalizable knowledge, to obtain

              IRB approval;

     (vi)     Declaratory judgment declaring the University Defendants and IRB Defendants

              unconstitutionally applied a viewpoint-based regulation to Plaintiff’s speech by

              requiring Plaintiff to establish her proposed research is “culturally appropriate;”

     (vii)    Permanent injunctive relief enjoining the University Defendants and IRB Defendants

              from maintaining the IRB mandate for Plaintiff’s communicative research;

     (viii)   Nominal damages from the Individual Capacity Defendants of $1 per Defendant;

     (ix)     An award of attorneys’ fees and costs to Plaintiff; and

     (x)      Such other and further relief as the Court deems just and appropriate.


                                                 31

Case 3:25-cv-00238        Document 1        Filed 06/02/25       Page 31 of 32        PageID #: 31
Dated: June 2, 2025
                                    /S/Ben M. Rose
                                    Ben M. Rose (TN Bar No. 21254)
                                    RoseFirm, PLLC
                                    Post Office Box 1108
                                    Brentwood, Tennessee 37024
                                    (615) 942-8295
                                    ben@rosefirm.com

                                    Kaitlyn D. Schiraldi (TN Bar No. 039737)*
                                    Margot J. Cleveland (MI Bar No. P83564)**
                                    NEW CIVIL LIBERTIES ALLIANCE
                                    4250 N. Fairfax Drive
                                    Suite 300
                                    Arlington, VA 22203
                                    (202) 869-5210
                                    Kaitlyn.Schiraldi@ncla.legal
                                    Margot.Cleveland@ncla.legal

                                    Counsel for Plaintiff Idil Issak
                                    * Application for admission pending
                                    **Application for admission Pro Hac Vice
                                    forthcoming




                                      32

Case 3:25-cv-00238    Document 1   Filed 06/02/25     Page 32 of 32      PageID #: 32
